
264 F.Supp.2d 349 (2003)
State of MARYLAND, Plaintiff,
v.
BLUE CROSS &amp; BLUE SHIELD ASSOCIATION, and
Carefirst, Inc., Defendants.
Carefirst, Inc., Plaintiff,
v.
The Honorable Robert L. Ehrlich, Jr., in His Official Capacity as Governor of the State of Maryland and
Thomas V. Mike Miller, Jr., in His Official Capacity as the President of the Maryland Senate and
Michael E. Busch, in His Official Capacity as the Speaker of the Maryland House of Delegates and
Steven B. Larsen, in His Official Capacity as Maryland Insurance Commissioner of the Maryland Insurance Administration and
Donna Lee H. Williams, in Her Official Capacity as the Insurance Commissioner of the Delaware Insurance Department and
Lawrence H. Mirel, in His Official Capacity as the Commissioner of the District of Columbia Department of Insurance and Securities Regulation
Nos. CIV.A. JFM03-1510, CIV.A. JFM03-01521.
United States District Court, D. Maryland.
May 23, 2003.


*350 ORDER

MOTZ, District Judge.
For a period of eleven (11) days, up to and including June 3, 2003, the Blue Cross and Blue Shield Association ("BCBSA"), CareFirst, Inc., and the Attorney General on behalf of the State of Maryland and the State Defendants (hereinafter "the Parties") have agreed to stay all pending litigation between them in the State of Maryland and the State of Illinois, and without prejudice to any claims and defenses that have been raised or that may be raised therein, the Parties agree to discuss prospective long-term solutions to the claims presented. During the eleven (11) day period:
1. All CareFirst cardholders continue to have the same Blue Cross Blue Shield benefits they had prior to May 22, 2003, in accordance with existing contracts.
2. BCBSA will not grant any license to the Blue Marks to a third party in the CareFirst region or negotiate the terms of any license agreement with a third party in the CareFirst region. BCBSA also will not remove CareFirst from its role in the Federal Employee Program or reassign any national accounts in the CareFirst region.
3. The State of Maryland will not implement the provisions of HB 1179 and SB 772.
SO ORDERED.
